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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 HUM COPCO LLC, d/b/a
 CAREPOINT HEALTH – HOBOKEN
 UNIVERSITY MEDICAL CENTER,

             Plaintiff,                   Case 2:16-cv-00168-KM-MAH

             v.

 UNITED BENEFIT FUND, AETNA
 HEALTH INC., and OMNI
 ADMINISTRATORS INC.,

             Defendants.


         MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
         OMNI ADMINISTRATORS INC.’S MOTION TO DISMISS
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       Defendant Omni Administrators Inc. (“Omni”) respectfully submits this

 memorandum of law in support of its motion to dismiss, with prejudice, the

 Amended Complaint filed by Plaintiff HUMC OPCO LLC, d/b/a Carepoint Health

 – Hoboken University Medical Center (“HUMC”). This motion seeks dismissal of

 the Amended Complaint in its entirety under Federal Rule of Civil Procedure

 12(b)(6).

                         PRELIMINARY STATEMENT

       HUMC commenced this lawsuit under the Employee Retirement Income

 Security Act of 1974 (“ERISA”) in an attempt to recover an alleged underpayment

 in benefits from Defendant United Benefit Fund. As HUMC admits in its

 Amended Complaint, the benefits HUMC seeks in this lawsuit are payable, if at

 all, solely from the United Benefit Fund, not Omni. Indeed, HUMC does not name

 Omni as a Defendant for purposes of its claim for benefits under Section

 502(a)(1)(B) of ERISA (Count I).

       HUMC’s claims against Omni in Counts II and III should be dismissed for

 failure to state a claim for relief. First, HUMC’s breach of fiduciary duty claim

 against Omni should be dismissed because Section 502(a)(2) of ERISA only

 authorizes plan-wide relief and HUMC seeks an alleged underpayment of benefits

 to HUMC itself. Second, HUMC’s claim that Omni violated Section 503 of

 ERISA should be dismissed because: (i) Section 503 does not provide an
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 independent cause of action; and (ii) insofar as HUMC contends that the alleged

 violation of Section 503 gives rise to a claim under Section 502(a)(3), it seeks the

 same relief sought in its first cause of action.

          In short, HUMC’s Amended Complaint should be dismissed with prejudice

 as against Omni.

                              STATEMENT OF FACTS

          This Statement of Facts is based on the allegations in the Amended

 Complaint, which are presumed true solely for purposes of this Motion.

          HUMC. HUMC operates a hospital under the business name Carepoint

 Health– Hoboken University Medical Center. (¶ 9.)1

          The Defendants. The United Benefit Fund (the “Fund” or “Plan”) is a

 multiemployer health and welfare plan that provides medical and other benefits to

 eligible participants and beneficiaries. (¶ 10.) Omni is the Plan Administrator for

 the Fund. (¶11.) Aetna Health Inc. (“Aetna”) is the third party claims

 administrator for the Fund. (¶ 12.) The Fund is the entity responsible for paying

 benefits, not Omni or Aetna. (¶¶ 43, 57.)

          HUMC’s Complaint. HUMC alleges that it provided medical treatment to

 an individual covered by the Fund (“Patient 1”) for nearly one year and that it has

 not been paid all of the benefits due for the services it provided to Patient 1. (¶¶ 1-

 1
     All “¶” references are to the Amended Complaint (Dkt. 4).

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 2, 16-24.) HUMC further alleges that, in connection with Patient 1’s treatment,

 Patient 1 executed an assignment of benefits “in which he assigned to HUMC the

 right to benefits under the Plan.” (¶ 26.) On the basis of these allegations, HUMC

 asserts three causes of action, and only Counts II and III are asserted against Omni:

        Count I: A claim for benefits under the Plan pursuant to Section

          502(a)(1)(B) of ERISA, 29 U.S.C. § 1132(a)(1)(B), against the Fund

          only. (¶¶ 41-54.)

        Count II: A claim under Section 502(a)(2) of ERISA, 29 U.S.C.

          § 1132(a)(2), that all Defendants breached their fiduciary duty by:

          (a) “basing their reimbursement decisions on maximizing profits to

          Defendants rather than on the terms of the Plan and applicable statutes

          and regulations; failing to make decisions in the interests of beneficiaries;

          and failing to act in accordance with the Plan documents” (¶ 64); and

          (b) “failing to inform HUMC – as assignee of benefits – of material

          information, by misrepresenting requirements for reimbursement under

          the Plan, and imposing unduly burdensome preconditions to payment not

          contemplated by the Plan” (¶ 65). (¶¶ 55-66.)

        Count III: A claim that HUMC was denied a full and fair review of its

          claims for benefits in violation of Section 503 of ERISA, 29 U.S.C.

          § 1133. (¶¶ 67-72.)

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                                    ARGUMENT

 I.    HUMC’S CLAIM FOR BREACH OF
       FIDUCIARY DUTY SHOULD BE DISMISSED

       HUMC’s breach of fiduciary duty claim against Omni (Count II) should be

 dismissed because Section 502(a)(2) of ERISA does not authorize the individual

 relief HUMC seeks. Section 502(a)(2) of ERISA authorizes a civil action to be

 commenced “by the Secretary, or by a participant, beneficiary or fiduciary for

 appropriate relief under section 1109 of this title.” 29 U.S.C. § 1132(a)(2).

 Section 409 of ERISA in turn provides that:

              Any person who is a fiduciary with respect to a plan who
              breaches any of the responsibilities, obligations, or duties
              imposed upon fiduciaries by this subchapter shall be
              personally liable to make good to such plan any losses to
              the plan resulting from each such breach, and to restore
              to such plan any profits of such fiduciary which have
              been made through use of assets of the plan by the
              fiduciary, and shall be subject to such other equitable or
              remedial relief as the court may deem appropriate,
              including removal of such fiduciary. A fiduciary may
              also be removed for a violation of section 1111 of this
              title.

 29 U.S.C. § 1109(a) (emphasis added).

       The Supreme Court has held that Section 502(a)(2) authorizes relief for the

 benefit of the plan only. Thus, participants and beneficiaries (or their assignees)

 who sue under Section 502(a)(2) may not recover individual relief. See Mass. Mut.

 Life Ins. Co. v. Russell, 473 U.S. 134 (1985). Since Russell, courts have


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 consistently dismissed claims under Section 502(a)(2) insofar as they sought

 recovery of individual relief. See, e.g., Hozier v. Midwest Fasteners, Inc., 908 F.2d

 1155, 1158, 1162 n.7 (3d Cir. 1990) (ruling that because plaintiffs sought

 severance benefits allegedly owed to them in their individual capacities as a result

 of amendments made to the plan, they could not seek relief under Section

 502(a)(2)); Menkowitz v. Blue Cross Blue Shield of Ill., No.14-2946, 2014 WL

 5392063, *4 (D.N.J. Oct. 23, 2014) (dismissing Section 502(a)(2) claim because

 plaintiffs’ claim for alleged underpayment of benefits sought relief for themselves

 only and not relief that would inure to the benefit of the plan as a whole); Prof’l

 Orthopedic Assocs., Pa v. Horizon Blue Cross Blue Shield of N.J., No. 2:13-CV-

 03057, 2014 WL 2094045, at *4 (D.N.J. May 20, 2014) (same).

       As the Amended Complaint makes clear, the crux of all of HUMC’s claims

 is that it seeks relief for alleged underpayment of benefits to HUMC. Indeed,

 HUMC’s Prayer for Relief seeks a judgment:

        “awarding damages for unpaid out-of-network benefits”,

        “ordering Defendants to pay benefits in accordance with the terms of the

           Plan”,

        “declaring that Defendants have violated the terms of the Plan”,

        “[a]warding . . . reimbursements improperly withheld”,

        “[r]equiring Defendants to make full payment on all previously denied

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            charges relating to HUMC’s claims for reimbursement under the Plan for

            the services it provided to Patient 1”, and

        “[r]equiring Defendants pay HUMC the benefit amounts as required

            under the Plan.”

 (Amended Complaint, at Prayer for Relief.)

       In short, HUMC’s claim for breach of fiduciary duty (Count II) should be

 dismissed.

 II.   HUMC’S CLAIM FOR VIOLATION OF
       ERISA § 503 SHOULD BE DISMISSED

       HUMC’s claim that Omni violated Section 503 of ERISA should be

 dismissed because: (i) Section 503 does not provide an independent cause of

 action; and (ii) insofar as HUMC contends that the alleged violation of Section 503

 gives rise to a claim under Section 502(a)(3), it seeks the same relief sought in

 Count I.

       Section 503(2) of ERISA requires that every employee benefit plan “afford a

 reasonable opportunity to any participant whose claim for benefits has been denied

 for a full and fair review by the appropriate named fiduciary of the decision

 denying the claim.” 29 U.S.C. § 1133(2). Courts have repeatedly held that Section

 503 of ERISA does not confer a private right of action. Indeed, “while complying

 with § 503 may be ‘probative of whether the decision to deny benefits was

 arbitrary and capricious,’ § 503 itself does not provide an independent cause of
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 action.” Cohen v. Horizon Blue Cross Blue Shield of N.J., No. 2:13-CV-03057,

 2013 WL 5780815, at *9 (D.N.J. Oct. 25, 2013) (quoting Miller v. Am. Airlines,

 Inc., 632 F.3d 837, 851 (3d Cir. 2011); see Piscopo v. Pub. Serv. Elec. and Gas

 Co., No.13-552, 2015 WL 3938925, at *5 (D.N.J. Jun. 25, 2015).

       To the extent that HUMC contends that the alleged violation of Section 503

 gives rise to a claim under Section 502(a)(3) (see ¶ 72), such a claim would fare no

 better. Section 502(a)(3) of ERISA authorizes a civil action to be commenced:

              by a participant, beneficiary, or fiduciary (A) to enjoin
              any act or practice which violates any provision of this
              subchapter or the terms of the plan, or (B) to obtain other
              appropriate equitable relief (i) to redress such violations
              or (ii) to enforce any provisions of this subchapter or the
              terms of the plan.

 29 U.S.C. § 1132(a)(3).

       The Supreme Court observed that “ERISA specifically provides a remedy

 for breaches of fiduciary duty with respect to . . . the payment of claims” in Section

 502(a)(1)(B) “that runs directly to the injured beneficiary.” Varity Corp.v. Howe,

 516 U.S. 489, 512 (1996). Since Varity, courts have held that when a plaintiff

 brings actions under sections 502(a)(1)(B) and 502(a)(3) and the latter merely

 duplicates the relief sought under the former, appropriate relief is available under

 section 502(a)(1)(B), and the section 502(a)(3) claim must be dismissed. See

 Chang v. Life Ins. Co. of N. Am., No. 08-0019, 2008 WL 2478379, at *4 (D.N.J.

 June 17, 2008) (Plaintiff’s Section 502(a)(3) claim “appears to be nothing more
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 than an attempt to couch the request for relief it had previously set forth in [its

 Section 502(a)(1)(B) claim] in the language of equity. To allow Plaintiff to

 proceed with [its Section 502(a)(3) claim] would lead to a significant waste of the

 Court’s and the parties’ resources.”); Erbe v. Billeter, No. 06-113, 2007 WL

 2905890 (W.D. Pa. Sept. 28, 2007) (collecting cases); Emil v. Unum Life Ins. Co.

 of Am., No. 02-2019, 2003 WL 256781 (M.D. Pa. Feb. 5, 2003) (“Plaintiff’s claim

 for breach of fiduciary duty is no more than a claim that Defendant wrongfully

 denied him benefits under the terms of the plan. Congress’ creation of a specific

 remedy for the wrongful denial of benefits in § 1132(a)(1) makes it inappropriate

 for Plaintiff to pursue an overlapping claim for breach of fiduciary duty here.”)

 (citations omitted).

       Here, Count III of the Complaint makes clear that the relief sought is for the

 alleged underpayment of benefits (¶¶ 64-65), and that is the same relief that is

 indisputably sought in Count I pursuant to section 502(a)(1)(B). Furthermore,

 given that Count III seeks relief in the form of an alleged underpayment of benefits

 – i.e., legal damages – it also is dismissible for failure to seek appropriate equitable

 relief. See, e.g., Prof’l Orthopedic Assocs., Pa., 2014 WL 2094045, at *3.

       In short, HUMC’s claim for failure to provide a full and review (Count

 III) should be dismissed.




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                                 CONCLUSION

       For the aforementioned reasons, Defendant Omni respectfully requests that

 HUMC’s Amended Complaint be dismissed with prejudice.

 Dated: March 22, 2016        Respectfully submitted,
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